                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )   CASE NO. 3:16-00199-7
                                                  )   JUDGE SHARP
DUSTIN NELSON                                     )


                                           ORDER

       Pending before the Court is Government's SEALED MOTION (Docket No. 112).

       The motion is GRANTED and the sentencing hearing set for March 27, 2017 is hereby

reset for Friday, August 11, 2017, at 1:30 p.m.

       It is so ORDERED.




                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




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